            Case 3:16-md-02741-VC Document 2615-7 Filed 01/30/19 Page 1 of 7



1    Aimee Wagstaff, SBN 278480
     aimee.wagstaff@andruswagstaff.com
2    Andrus Wagstaff, PC
     7171 West Alaska Drive
3    Lakewood, CO 80226
     Telephone: (303) 376-6360
4    Facsimile: (303) 376-6361
5    Robin Greenwald
     rgreenwald@weitzlux.com
6    Weitz & Luxenberg
     700 Broadway
7    New York, NY 10003
     Telephone: (212) 558-5500
8    Facsimile: (212) 344-5461
9
     Michael Miller (pro hac vice)
10   mmiller@millerfirmllc.com
     The Miller Firm LLC
11   108 Railroad Avenue
     Orange, VA 22960
12   Telephone: (540) 672-4224
     Facsimile: (540) 672-3055
13
     Attorneys for Plaintiffs
14
                                 UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
17    IN RE: ROUNDUP PRODUCTS                  MDL No. 2741
      LIABILITY LITIGATION
18
                                               Case No. 16-md-02741-VC
19
      This document relates to:                PLAINTIFFS’ OPPOSITION TO
20                                             MONSANTO’S MOTION IN LIMINE NO.
      Hardeman v. Monsanto Co., et al.,
      3:16-cv-0525-VC                          5 ON OTHER PRODUCTS, OTHER
21                                             LITIGATION AND CORPORATE
      Stevick v. Monsanto Co., et al.,
22    3:16-cv-2341-VC                          HISTORY
      Gebeyehou v. Monsanto Co., et al.,
23    3:16-cv-5813-VC

24
25
26
27
28



        PLAINTIFFS’ OPPOSITION TO MONSANTO’S FIFTH IN LIMINE MOTION
            Case 3:16-md-02741-VC Document 2615-7 Filed 01/30/19 Page 2 of 7



1
            The Court should deny Monsanto’s fifth in limine motion.             In each sub-argument,
2
     Monsanto seeks a broad, sweeping preclusion of evidence, but only provides a narrow, single
3
     example supporting its application. As the Court can better handle these issues individually,
4
     should they come up, the Court should deny the instant motion in full.
5
            A.      Monsanto’s in limine motion is overly broad.
6
            The Court should deny Monsanto’s in limine motion as overly broad. As Defendant’s own
7
     case law notes, “Motions in limine that exclude broad categories of evidence are disfavored and
8
     such issues are better dealt with during trial as the admissibility of evidence arises.” Calloway v.
9
     Hayward, 1:08-cv-01896, 2017 WL 363000 at *1 (E.D. Calif. Jan. 24, 2017) (citing In re
10
     Homestore.com, Inc., No. CV 01-11115, 2011 WL 291176 at *2 (C.D. Calif. Jan. 25, 2011)).
11
12   Monsanto’s authority further confirms that the denial of a general motion in limine as overbroad

13   is appropriate when the movant fails to identify specific documents or testimony specific to the

14   motion which the movant seeks to preclude. See Apple iPod iTunes Antitrust Lit., No. 05-cv-0037,

15   2014 WL 12719192 at *3 (N.D. Calif. 2014).

16          Monsanto’s Motion proposes sweeping preclusion of evidence while offering minimal and

17   insufficient support. Monsanto asks the Court to exclude all “[e]vidence of products other than
18   Roundup …,” but merely focuses on Agent Orange and its use in Vietnam in support of its Motion.
19   See Monsanto’s Memorandum of Points and Authorities [for Motion in limine No. 5 re: Other
20   Litigation, Other Products, and Company History], dated Jan. 30 [sic], 2019, at 2 (“Def. MIL”).
21   Monsanto only offers a single reference from a state case to a single product to support its Motion.1
22   See id. at 3. The portion of Monsanto’s Motion concerning Bayer further illustrates its unsupported
23   attempts to restrict evidence. Monsanto seeks to preclude all evidence of “Bayer’s acquisition of
24
     Monsanto,” id. at 4, but merely highlights the potential unfair prejudicial impact of Bayer’s
25
26
27   1
       The cited reference to “Agent Orange” does not appear at the offered citation. Indeed, the entire
28   deposition transcript is devoid of any mention of Agent Orange. See generally id., Exh. 3.


             PLAINTIFF’S OPPOSITION TO MONSANTO’S FIFTH IN LIMINE MOTION

                                                          2
            Case 3:16-md-02741-VC Document 2615-7 Filed 01/30/19 Page 3 of 7



1
     operations in Nazi Germany. See id. at 4-5.2 Finally, common sense confirms that Monsanto’s
2
     attempt to preclude “the mere mention of prior or other current lawsuits” as unduly prejudicial is
3
     needlessly broad. This request would prevent any mention of the Johnson trial or its result, yet
4
     both sides have an interest, at a minimum, in submitting questions about that case for the voir dire
5
     of prospective jury members. Notably, as Monsanto concedes, it submitted the same motion in
6
     Johnson and the state court denied the motion and allowed references to certain filed cases. The
7
     Court should deny such overly broad applications and reserve the right to address such points on
8
     a case-by-case basis to any specific evidence either part might wish to introduce.
9
            B.      References to Other Litigation is Appropriate and not Unfairly Prejudicial.
10
            Monsanto’s opening statement in the Johnson trial illustrates the relevance of 9,300+ cases
11
12   filed against Monsanto. In that opening, Monsanto’s counsel spoke of increased evidence of non-

13   Hodgkin’s lymphoma occurring in farmers in a county in Ohio in the 1950s and ‘60s and used that

14   information to suggest a lack of correlation between Roundup and non-Hodgkin’s lymphoma

15   (NHL). Exhibit A at 1467-68 (stating that the information is “significant” “[b]ecause this

16   observation that non-Hodgkin’s lymphoma was associated with farming occurred before

17   glyphosate was invented”). The pending litigations provide the counterpoint to Monsanto’s
18   argument. For these 9,300+ individuals, living in different parts of the country, performing diverse
19   jobs and using Roundup in varying manners, the common link that joins them is their use of
20   Roundup and diagnosis of NHL. Indeed, as Monsanto extended its argument to discuss how the
21   observation above prompted epidemiological studies, see id. at 1466-75, the 9,300 alleged
22   instances of NHL provide potential support for the epidemiological studies and conclusions
23   underlying IARC’s determination that glyphosate is a probable carcinogen.
24
            Further, Monsanto’s own questioning of expert witnesses permits other testimony
25
     referencing the number of pending litigations. Monsanto will, almost certainly, question Plaintiffs’
26
27   2
       Once again, the single offered reference to deposition testimony, see id. at 5, does not appear
28   anywhere within Monsanto’s accompanying exhibit. See generally id., Exh. 3.


             PLAINTIFF’S OPPOSITION TO MONSANTO’S FIFTH IN LIMINE MOTION

                                                          3
             Case 3:16-md-02741-VC Document 2615-7 Filed 01/30/19 Page 4 of 7



1
     expert witnesses at trial about their fees and how much they have received for these litigations.3
2
     As Plaintiffs’ experts, however, have done substantial work for other Plaintiffs in courthouses
3
     around the country, from expert reports to expert depositions and trial testimony, those fees go
4
     well beyond the three immediate Plaintiffs. The jury would not understand the fees paid without
5
     knowing the context of the other pending cases.
6
             Plaintiffs do not intend and will not conduct a trial within a trial for any of these other
7
     cases. With respect to the Johnson litigation, as Monsanto fully litigated that case, collateral
8
     estoppel may apply to certain issues. To the extent that evidence about other litigation is
9
     introduced here, the Court should deny the instant Motion and address such evidence as it arises.
10
             C.       Evidence of Monsanto’s Other Products is Necessary and Admissible.
11
12           Evidence of other Monsanto herbicides is relevant and directly connected to the claims in

13   this litigation. Plaintiffs’ complaints include strict liability claim for a defective product. The

14   availability of an alternative design remains a consideration for such claims. See Papsan v.

15   Domestic Corp., No. 16-cv-02117, 2017 WL 4865602 at *18-19 (N.D. Calif. 2017); Coleman-

16   Anacleto v. Samsung Elec. Am., Inc., No. 16-cv-02941, 2016 WL 4729302 at *18-19 (N.D. Calif.

17   2016); West v. Johnson & Johnson Prod., Inc., 220 Cal. Rptr 437, 456-57 (Calif. Ct. App. 1986).
18   Evidence concerning non-Roundup herbicides which Monsanto manufactured and sold,
19   accordingly, is relevant, see Fed. R. Evid. 401, and directly goes to certain claims before the Court
20   and jury at trial. Given the relevance of such testimony to the case, the Court should deny the
21   instant Motion to preclude all “[e]vidence of products other than Roundup.”4
22
23
     3  This aspect of the Motion is particularly suspect because Monsanto, in cross examining Plaintiffs’ experts
24   at their depositions spent considerable time questioning about their billing – billing that is not only for the
25   instant trial but also for many other cases throughout the country.
     4 Notably, Monsanto has failed to substantiate its Motion. Monsanto only includes a discussion of Agent

26   Orange, labeling it as a “stigmatized” chemical which “triggers memories of the Vietnam War. Def. MIL
     at 3. Monsanto’s only connecting testimony is irrelevant to the Motion. A review of the offered transcript
27   confirms that Alberta Pilliod never mentions “Agent Orange,” and the cited page involves a discussion of
     where Ms. Pilliod sprayed Roundup around the yard. See generally id., Exh. 3 (lacking the word “orange”
28   anywhere within the testimony).



              PLAINTIFF’S OPPOSITION TO MONSANTO’S FIFTH IN LIMINE MOTION

                                                                4
             Case 3:16-md-02741-VC Document 2615-7 Filed 01/30/19 Page 5 of 7



1
            Monsanto’s final point regarding Rule 404(b) is both misleading and inaccurate. See Def.
2
     MIL at 3 (suggesting that the Rule “forbids” the introduction of this evidence). The Rule, however,
3
     continues and confirms that evidence of other acts is admissible “for another purpose, such as
4
     proving motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or
5
     lack of accident.” Fed. R. Evid. 404(b)(2). Evidence of Monsanto’s other herbicides goes directly
6
     to opportunity, preparation and knowledge, would be relevant and should not be precluded in
7
     advance of trial.
8
            D.      No Reason Exists to Preclude Evidence of Bayer’s History.
9
            Monsanto’s final point, ultimately, is irrational and merits little consideration. Monsanto’s
10
     only offered argument for precluding any evidence of Bayer’s acquisition of Monsanto is that
11
12   evidence of non-party Bayer’s Nazi past history would be unfairly prejudicial. See Def. MIL at 4-

13   5. The argument makes little sense in the immediate context. Plaintiffs had not considered and

14   did not anticipate introducing evidence concerning Bayer’s Nazi history. Monsanto has inserted

15   this red herring into its motion presumably to distract the Court, particularly as Monsanto’s only

16   support purportedly involves a plaintiff in a different action which is not before this Court.5

17          Certain information concerning Bayer’s acquisition of Monsanto is relevant and
18   admissible. The companies conducted negotiations of the purchase for approximately two years
19   before finalizing the sale of the company for $63 billion, including, presumably, an undisclosed
20   reserve for the pending Roundup litigations. Plaintiffs anticipate potentially utilizing the details
21   concerning Bayer’s purchase of the Monsanto as evidence going to punitive damages. Such
22   testimony, including testimony about Bayer’s due diligence, the value of Monsanto’s Roundup
23   product and calculations of the profits which the company receives from Roundup, is relevant to
24
     the calculation and assessment of punitive damages.
25
26
27   5 Again, Monsanto has pointed to deposition testimony that does not support its assertion. See Def. MIL,
     Exh. 3 at 1, 111-12 (providing the case caption which shows the case venued in the Superior Court of the
28   State of California and the pages which defendant cited in its brief).



              PLAINTIFF’S OPPOSITION TO MONSANTO’S FIFTH IN LIMINE MOTION

                                                            5
            Case 3:16-md-02741-VC Document 2615-7 Filed 01/30/19 Page 6 of 7



1
            Finally, Monsanto has not identified any news articles which it anticipates Plaintiffs will
2
     seek to introduce at trial or why Bayer’s decision to purchase Monsanto for $63 billion is
3
     irrelevant. See Def. MIL at 5. Monsanto also appears to have manufactured this issue. Plaintiffs
4
     have not included such an article on their exhibit list. To the extent that Plaintiffs might seek to
5
     introduce a newspaper article into evidence concerning the purchase, the Court should deny the
6
     instant Motion and, if such information comes up in court, handle the introduction of such evidence
7
     on a case-by-case basis.
8
                                              CONCLUSION
9
            For these reasons, Plaintiffs respectfully request that the Court deny Defendant’s Motion,
10
     together with such other relief as the Court may deem just and proper.
11
12   Dated: January 30, 2019                              Respectfully submitted,
13                                                        /s/ Robin Greenwald
                                                          Robin Greenwald
14                                                        rgreenwald@weitzlux.com
15                                                        Weitz & Luxenberg
                                                          700 Broadway
16                                                        New York, NY 10003
17                                                        /s/ Aimee Wagstaff
                                                          Aimee Wagstaff
18
                                                          aimee.wagstaff@andruswagstaff.com
19                                                        Andrus Wagstaff, P.C.
                                                          7171 West Alaska Drive
20                                                        Lakewood, CO 80226
21                                                        /s/ Mike Miller
22                                                        Michael Miller
                                                          mmiller@millerfirmllc.com
23                                                        The Miller Firm LLC
                                                          108 Railroad Ave
24                                                        Orange, VA 22960
25                                                        Co-Lead Counsel for Plaintiffs
26                                                        in MDL No. 2741

27
28


             PLAINTIFF’S OPPOSITION TO MONSANTO’S FIFTH IN LIMINE MOTION

                                                          6
            Case 3:16-md-02741-VC Document 2615-7 Filed 01/30/19 Page 7 of 7



1
                                    CERTIFICATE OF SERVICE
2
            I certify that on January 30, 2019, I electronically filed the foregoing document with the
3
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
4
     CM/ECF participants registered to receive service in this MDL.
5
6                                                        /s/ Aimee Wagstaff______________
7                                                        Aimee H. Wagstaff (SBN 278480)
                                                         aimee.wagstaff@andruswagstaff.com
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


             PLAINTIFF’S OPPOSITION TO MONSANTO’S FIFTH IN LIMINE MOTION

                                                        7
